Case 2:04-cv-02957-SHI\/|-dkv Document 18 Filed 06/27/05 Page 1 of 5 Page|D 34

F{l_'i_? "_z`s' __ ____"__ \J.C;.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNE%EFHM{Z? PH Jli

WESTERN DIVISION

RQE'¢"F :'." |"`LE ' `.‘_-!"-||n
cL_z-;=.~;;<, 1_,=_.€. ';,-.‘ c .
FRED MONTESI'S. INC. d/b/a w.s. oF 1N, mun-ins

MONTES I ' S SUPERMARKET ,
Plaintiff,
v. No. 04-2957 MaA

CENT IMARK CORPORATION,

Defendant.

 

ORDER DENYING DEFEN'DANT’ S MOTION TO DISMISS

 

On .April 13, 1999, Fred Montesi's, Inc. (“Montesi”) and
Centimark Corporation (“Centimark”) entered into a contract under
which Centimark was to provide a new roof on Montesi's property in
Shelby County, Tennessee. (Compl. at 1 5.) This suit arises from
Centimark’s alleged breach of that contract. Before the court is
Centimark‘s motion to dismiss, filed on January ll, 2005. Montesi
filed a response on February 9, 2005. Centimark filed a reply on
February 17, 2005.

The contract between the parties contains a forum-selection
clause which states that “[j]urisdiction and venue of any action or
proceeding arising out of or relating to this Sales Agreement shall
be Vested in the state or federal courts in Washington County,
Pennsylvania.” (Compl., Ex. A at I 3.) Centimark argues that this

forum-selection clause compels dismissal =Df Monte i's suit for

  

This document entered on the docket sh
with Hu\e 58 and!or 79(3) FRCP on

  

Case 2:04-cv-02957-SHI\/|-dkv Document 18 Filed 06/27/05 Page 2 of 5 Page|D 35

“lack of proper venue.” (Def.'s Mot. at l.)
Centimark does not state the procedural basis for its motion
to dismiss. The court assumes that Centimark's motion is a Fed. R.
Civ. P. 12(b)(3) motion to dismiss for improper venue. The Sixth
Circuit has stated that:
a Rule 12(b)(3) motion to dismiss for improper venue is
simply' the procedural vehicle by' which to challenge
improper 'venue; the Rules of Civil Procedure do not
contain any venue provisions or requirements. The
requirements for venue are set by statute, as are the
remedies available for improper and inconvenient venue.
Kerobo v. Southwestern Clean Fuels, Corp., 285 F.3d 531, 538 (Sth
Cir. 2002). Consequently, if venue is proper under some federal
statute, a suit cannot be dismissed for improper venue under Rule
12(b)(3), irrespective of the presence of a valid forum-selection
clause.l ld; The Kerobo court's holding was based on the conclusion
that “whether a forum-selection clause should be enforced is a
matter of contract, not an issue of proper venue.” lgé at 535.
Montesi is a Tennessee corporation with its principal office
in Memphis, Tennessee. (Compl. at q 1.) Centimark is a Pennsylvania
Corporation with its principal office in Canonburg, Pennsylvania.
(Id. at q 2.) Montesi seeks $175,000. (Id.) This court, therefore,

has diversity jurisdiction under 28 U.S.C. § 1332(a). Venue in

diversity cases is governed by 28 U.S.C. § 1391 and exists in “any

 

lThe Sixth Circuit's analysis in Kerobo may not apply to situations where
a forum-selection clause establishes that venue is only proper in a foreign
jurisdiction or establishes that venue is improper in federal court. §£e_, e.g.,
Navickas v. .l>iircenterl Inc., No. 1:02-CV-363, 2003 WL 21212747, at *2 (E.D. Tenn.
2003); Heinz v. Grand Circle Travel, 329 F.Supp.Zd 896, 900 (W.D. Ky. 2004).

 

2

Case 2:04-cv-02957-SHI\/|-dkv Document 18 Filed 06/27/05 Page 3 of 5 Page|D 36

forum with a substantial connection to plaintiff's claim.” First
of Mich. Corp. v. Bramlet, 141 F.3d 260, 263 (6th Cir. 1998); see
also 28 U.S.C. § 1391(a)(2). Because the contract was to be
performed in Shelby County, Tennessee, venue is proper under 28
U.S.C. § 1391 and dismissal under Rule 12(b}(3) would be improper.
See Kerobo, 285 F.3d at 538.

According to the Kerobo court, a forum-selection clause may be
enforced by filing a motion to transfer venue under 28 U.S.C. §
1404(a). Id. at 539. In deciding whether to grant a notion to
transfer:

“[t]he district court must weigh a number of case-specific

factors such as the convenience of parties and witnesses,

public-interest factors of systemic integrity, and private
concerns falling under the heading the interest of
justice. A forum-selection clause in a contract is one of

the factors to consider in this calculus. Such a clause

should receive neither dispositive consideration nor no

consideration but rather the consideration for which

Congress provided in § 1404(a).

Kerobo, 285 F.3d at 537-38 (internal quotes and citations omitted).
Although the parties' have addressed the interpretation and
validity of the contract's forum-selection clause, the parties have
not addressed in detail the other factors that may be relevant to
a motion to transfer venue in this case. Therefore, the court

declines to transform sua sponte Centimark's motion to dismiss into

a motion to transfer under § 1404(a).2

 

2Should Centimark choose to file a motion to transfer venue within 30 days
of the date of this order, to the extent that the court has the discretion to do
so, the court will consider the new motion to have been filed on January 11,
2005, when Centimark's motion to dismiss was filed.

3

Case 2:04-cv-02957-SHI\/|-dkv Document 18 Filed 06/27/05 Page 4 of 5 Page|D 37

For the foregoing reasons, the court DENIES Defendant's motion

to dismiss.

It is so ordered this 2"1¥" day of June 2005.

y//n/L__..

SAMUEL H. MAYS, JR.
UNITED STATES DISTRIC'I' JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:04-CV-02957 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

ESSEE

 

Stephen H. Biller

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

1\/1emphis7 TN 38120

Todd 13. Murrah

GLASSMAN .TETER EDWARD & WADE
26 N. Second Street

1\/1emphis7 TN 38103

Walter E. Schuler

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

1\/1emphis7 TN 38120

Honorable Samuel Mays
US DISTRICT COURT

